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     Proposed Interim Co-Lead Counsel
13
     [Additional counsel on signature page]
14
                              UNITED STATES DISTRICT COURT
15                      FOR THE NORTHERN DISTRICT OF CALIFORNIA
                                 SAN FRANCISCO DIVISION
16
   ELLIOT LAM, individually and on behalf of           Case No. 3:22-cv-07336-JSC
17 all others similarly situated,                      Class Action
                                  Plaintiff,
18                                                     PLAINTIFFS’ NOTICE OF MOTION AND
    v.                                                 MOTION TO CONSOLIDATE, TO
19 SAM BANKMAN-FRIED, CAROLINE                         APPOINT INTERIM CO-LEAD
                                                       COUNSEL, LIAISON COUNSEL, AND
20 ELLISON,     and GOLDEN STATE                       PLAINTIFFS’ EXECUTIVE
    WARRIORS, LLC,                                     COMMITTEE
21                                Defendants.
                                                       Honorable Jacqueline Scott-Corley
22
     STEPHEN PIERCE, individually and on               Case No. 3:22-cv-07444-JSC
23   behalf of all others similarly situated,
                                     Plaintiff,
24
     v.
25   SAMUEL BANKMAN-FRIED, CAROLINE
     ELLISON, ZIXIAO “GARY” WANG,
26   NISHAD SINGH, ARMANINO, LLP, and
     PRAGER METIS CPAS, LLC,
27
                                     Defendants.
28
     [caption continues on following page]
     {00536428;1 }                                                               Case No. 3:22-cv-07336-JSC
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 1 RUSSELL HAWKINS, individually and on                    Case No. 3:22-cv-07620-JSC
   behalf of all others similarly situated,
 2                                 Plaintiff,
 3 v.

 4 SAMUEL BANKMAN-FRIED, CAROLINE
   ELLISON, ZIXIAO “GARY” WANG,
 5 NISHAD SINGH, ARMANINO, LLP, and
   PRAGER METIS CPAS, LLC,
 6                                 Defendants.
 7
   MICHAEL ELLIOTT JESSUP, individually                    Case No. 3:22-cv-07666-JSC
 8 and on behalf of all others similarly situated,

 9                                 Plaintiff,
   v.
10
   SAMUEL BANKMAN-FRIED, an individual,
11 CAROLINE ELLISON, an individual,
   NISHAD SINGH, an individual, GARY
12 WANG, an individual, and SAM TRABUCCO,
   an individual,
13
                                   Defendants.
14
   JULIE PAPADAKIS, individually and on                    Case No. 3:23-00024-JSC
15 behalf of all others similarly situated,

16                                 Plaintiff,
17 v.

18 SAMUEL BANKMAN-FRIED, an individual,
   CAROLINE ELLISON, an individual,
19 NISHAD SINGH, an individual, GARY
   WANG, an individual, and SAM TRABUCCO,
20 an individual,
                             Defendants.
21

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27                                 b.        Kaplan Fox & Kilsheimer LLP (proposed co-lead counsel)......... 19

28                                 c.        Pomerantz LLP (proposed co-lead counsel) ................................ 20

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 1                                NOTICE OF MOTION AND MOTION

 2            TO ALL PARTIES AND THEIR ATTORNEYS OF RECORD, PLEASE TAKE
 3   NOTICE THAT on March 9, 2023, at 10:00 am, or as soon thereafter as the matter may be heard,
 4   in the courtroom of the Honorable Jacqueline Scott Corley, United States District Judge, Northern
 5   District of California, Courtroom 8, 19th Floor, 450 Golden Gate Ave., San Francisco, CA 94102,
 6   Plaintiffs Michael Elliott Jessup, Elliott Lam, Russell Hawkins, Stephen Pierce, and Julie Papadakis
 7   (“Plaintiffs”), will, and hereby do, move the Court for an order consolidating the above-captioned
 8   cases pursuant to Federal Rule of Civil Procedure 42, and appointing Interim Co-Lead Counsel,
 9   Liaison Counsel, and a Plaintiffs’ Executive Committee pursuant to Federal Rule of Civil Procedure
10   23. This motion is based on this Notice of Motion and Motion, the accompanying Memorandum of
11   Points and Authorities, the concurrently-filed Declaration of William M. Audet and supporting
12   exhibits, the pleadings in the above-captioned matters, oral argument of counsel, and any other
13   materials and argument that may be presented in connection with the hearing of this motion.
14                                                Respectfully submitted,
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      {00536428;1 }                                  -1-                          Case No. 3:22-cv-07336-JSC
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       Case 3:22-cv-07336-JSC Document 19 Filed 02/02/23 Page 8 of 32



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 1   I.       INTRODUCTION
 2            Pursuant to Federal Rules of Civil Procedure 42(a) and 23(g), Plaintiffs Michael Elliott
 3 Jessup, Elliott Lam, Russell Hawkins, Stephen Pierce, and Julie Papadakis (collectively,

 4 “Plaintiffs”) respectfully move to consolidate their respective cases:

 5            1.      Jessup v. Bankman-Fried, et al., Case No. 3:22-cv-07666-JSC;
 6            2.      Lam v. Bankman-Fried et al., Case No. 3:22-cv-07336-JSC;
 7            3.      Hawkins v. Bankman-Fried, et al., Case No. 3:22-cv-07620-JSC;
 8            4.      Pierce. v. Bankman-Fried et al., Case No. 3:22-cv-07444-JSC; and
 9            5.      Papadakis v. Bankman-Fried, et al., Case No. 3:23-cv-00024-JSC (collectively, the
10                    “Related Actions”).
11            Plaintiffs collectively bring various causes of action against Defendants revolving around
12 the collapse of the FTX cryptocurrency exchange. In sum, the allegations challenge the scheme

13 spearheaded by Defendant Samuel Bankman-Fried (“Bankman-Fried”) and other top-level

14 executives at the FTX exchange and Alameda Research, LLC (“Alameda”) to misappropriate FTX

15 deposits and assets and subsequently gamble the money away through risky bet-making or outright

16 theft. The cases include claims against the founders of FTX and Alameda, high-level executives at

17 these and related companies, the outside auditors who reviewed FTX and FTX.US financials

18 (Armanino LLP and Prager Metis CPAs, LLC) and other endorsers or co-conspirators that

19 perpetrated the fraud.

20            While the Related Actions in this District bring a wide-ranging set of claims, they all revolve
21 around the collapse of the FTX exchange and seek redress for the billions of dollars of losses

22 incurred by unsuspecting consumers and investors who were tricked by Mr. Bankman-Fried and the

23 other Defendants into storing their money or assets on the FTX exchange. Given the commonality

24 of factual and legal issues among these cases, consolidation is appropriate here.

25            Plaintiffs also request that this Court enter an order appointing:
26            1.      Edelson PC (“Edelson”), Kaplan Fox & Kilsheimer LLP (“Kaplan Fox”), and
27                    Pomerantz LLP (“Pomerantz”) as Interim Co-Lead Class and Trial Counsel;
28

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 1            2.      Audet & Partners LLP (“Audet”) as Interim Liaison Counsel and Executive
 2                    Committee Chair; and
 3            3.      an Executive Committee, including The Hoda Law Firm, PLLC (“Hoda Law”),
 4                    Wites Law Firm (“Wites”); and Bronstein, Gewirtz & Grossman, LLC (“BG&G”)
 5                    (collectively, the “Proposed Leadership”). 1
 6   This request is joined by the Plaintiffs in the cases captioned Jessup v. Bankman-Fried, et al., Case
 7   No. 22-cv-07666-JSC; Lam v. Bankman Fried et al., Case No. 22-cv-07336-JSC; Hawkins v.
 8   Bankman-Fried, et al., Case No. 22-cv-07620; Pierce. v. Bankman-Fried et al., Case No. 22-cv-
 9   07444; and Papadakis v. Bankman-Fried, et al., Case No. 23-cv-00024-JSC.
10            The structure of the Proposed Leadership satisfies all of the criteria under Rule 23(g). First,
11   each of the aforementioned firms has already performed substantial work to identify, research and
12   investigate the potential claims in this action, including filing complaints shortly after the
13   precipitating events. Additionally, the Proposed Leadership has extensive experience in handling
14   class actions, mass actions, and complex litigation, including complex litigation against accounting
15   firms and entities in the cryptocurrency landscape. The Proposed Leadership will devote significant
16   resources to thoroughly and efficiently prosecuting this matter on behalf of the class, against several
17   well-funded and sophisticated defendants. The Proposed Leadership firms have also designated
18   experienced attorneys to prosecute these cases, and these firms have served as lead class counsel in
19   dozens of class actions across the country.
20            Appointing an interim leadership structure will allow the Court to more efficiently adjudicate
21   these Related Actions. Plaintiffs and the proposed Class will benefit as well by facilitating effective
22   coordination between different groups of lawyers, thus making clear to Class Members and
23 Defendants alike who speaks for the proposed Class. A clearly defined leadership structure is

24 particularly appropriate here due to the credible risk, given the current position of the Defendants,

25 that funds could be disbursed through malfeasance. There is also a pending bankruptcy case for FTX

26

27       1
         Firm resumes for the Proposed Leadership firms are attached as Exhibits 1-7 to the
28   accompanying Declaration of William M. Audet (“Audet Decl.”).

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 1   in the District of Delaware and liquidation proceedings in the Bahamas, which may present
 2   competing claims for many of the funds at issue in the cases before the Court here. See, e.g., In re:
 3   FTX Trading Ltd., et al., No. 22-11068-JTD (Bankr. D. Del.). It will be necessary for the Proposed
 4   Leadership to monitor those proceedings and interface with counsel therein, along with counsel
 5   involved in ongoing criminal proceedings against Bankman-Fried and other Defendants, to ensure
 6   that the interests of proposed Class Members are protected. To that end, the Proposed Leadership
 7   includes a Liaison Counsel that serves more than the typical function of acting as a liaison for the
 8   Court, but also crucially for other ancillary proceedings involving the same Defendants. The Court’s
 9   adoption of the Proposed Leadership will enable effective coordination and greater efficiency that
10   is necessary at this early stage, so that Plaintiffs can swiftly pursue redress for wronged Class
11   Members and protect their rights.
12            Finally, Plaintiffs request that this Court enter the [Proposed] Order concurrently filed
13 herewith. Entering the [Proposed] Order will promote orderly litigation and solidify the gains in

14 judicial economy that will be achieved through consolidation and appointment of Interim Co-Lead

15 and Trial Counsel, Interim Liaison Counsel, and members of the Executive Committee.

16 II.        LEGAL STANDARD
17            Federal Rule of Civil Procedure 42(a) allows the consolidation, including for pretrial
18 purposes, of actions that involve a common question of law or fact. The “district court has broad

19 discretion under this rule to consolidate cases pending in the same district.” Mullen v. Wells Fargo

20 & Co., No. C 20-07674 WHA, 2021 WL 965344, at *2 (N.D. Cal. Mar. 15, 2021) (quotation

21 omitted). The ultimate purpose behind consolidation is efficiency, which does not depend on

22 perfectly identical complaints, parties, or legal theories. Id., at *2 (noting complaints need not be

23 “identical for the purposes of consolidation”). “[T]ypically, consolidation is favored.” In re Oreck

24 Corp. Halo Vacuum & Air Purifiers Mktg. & Sales Pracs. Litig., 282 F.R.D. 486, 490 (C.D. Cal.

25 2012).

26            Rule 23(g)(3) of the Federal Rules of Civil Procedure permits the Court to designate interim
27 class counsel and the “designation of interim [lead] counsel clarifies responsibility for protecting

28 the interests of the class during precertification activities, such as making and responding to motions,

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 1   conducting any necessary discovery, moving for class certification, and negotiating settlement.”
 2   Manual for Complex Litig. § 21.11 (4th ed. 2022) (hereafter “Manual”). “A court should ‘designate
 3 interim counsel during the pre-certification period if necessary to protect the interests of the putative

 4 class.’” In re S.C. Johnson & Son, Inc. Windex Non-Toxic Litig., No. 20-CV-03184-HSG, 2020 WL

 5 6081722, at *1 (N.D. Cal. Oct. 15, 2020) (quotation omitted). The “typical situation requiring

 6 appointment of interim class counsel is one where a large number of putative class actions have

 7 been consolidated or otherwise are pending in a single court.” Imran v. Vital Pharms., Inc., No. 18-

 8 CV-05758-JST, 2019 WL 1509180, at *10 (N.D. Cal. Apr. 5, 2019) (quotation omitted).

 9            In considering a motion to appoint interim lead counsel, a court looks to the factors outlined
10 in Rule 23(g)(1)(A), including: (1) the work proposed interim lead counsel has performed in

11 identifying or investigating the potential claims; (2) counsel’s experience with claims of the type

12 asserted in the action; (3) counsel’s knowledge of applicable law; and (4) the resources counsel will

13 commit to representing the class. Fed. R. Civ. P. 23(g)(1)(A) (i)-(iv). No single factor is

14 determinative. Fed. R. Civ. P. 23 advisory committee’s notes to 2003 amendment. The Court may

15 also consider “any other matter pertinent to counsel’s ability to fairly and adequately represent the

16 interests of the class,” Fed. R. Civ. P. 23(g)(1)(B), and class counsel must “fairly and adequately

17 represent the interests of the class.” Fed. R. Civ. P. 23(g)(4). Courts in this District have also stressed

18 the importance of “making lead counsel opportunities available to a diverse slate of law firms and

19 attorneys.” In re Google Play Developer Antitrust Litig., No. 3:20-cv-05792, ECF No. 79 at 1 (N.D.

20 Cal. Dec. 11, 2020).

21 III.       THE COURT SHOULD CONSOLIDATE THE RELATED ACTIONS
22                    A. The Related Actions Involve Many Common Questions of Law and Fact
23            All of the Related Actions share questions of law and fact and are therefore particularly well-
24 suited for consolidation. Fed. R. Civ. P. 42(a); see also 9A Charles Alan Wright et al., Federal

25 Practice and Procedure § 2382 (3d ed.) (“[T]he existence of a common question by itself is enough

26 to permit consolidation under Rule 42(a).”). As the previously filed Motions to Relate indicate (Dkt.

27 Nos. 9, 17), the Related Actions arise out of the same events—the November 2022 downfall of FTX

28 and the fraudulent activities that led to the collapse and involve overlapping Defendants in these

      {00536428;1 }                                    -7-                           Case No. 3:22-cv-07336-JSC
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 1   actions, people and entities believed to be tied to the fraudulent conduct that caused the exchange
 2   to go bankrupt, as well as those who helped conceal the precarity of FTX’s financial situation for
 3   months, if not years.
 4            While these cases allege various claims under several different statutes as well as common
 5   law, all of them ultimately sound in fraud or conspiracy to commit fraud. The Jessup and Papadakis
 6   cases both include common law fraud as a cause of action, see Jessup Dkt. 1, ¶¶ 66-77; Papadakis
 7   Dkt .13, ¶¶ 159-69, while Lam includes a claim for Fraudulent Concealment, and a California Unfair
 8   Competition Law claim based, in part, on fraud. See Lam Dkt. 1, ¶¶ 79, 83, 91-100. Additionally,
 9   Pierce and Lam both include allegations of conspiracy. See Pierce Dkt. 1, ¶¶ 130-34; Lam Dkt. 1,
10   ¶¶ 101-106. Thus, while the cases may rely on different statutes and causes of action, consolidation
11   is still appropriate as the Court will have to make similar factual and legal determinations across the
12   board. See Mullen, 2021 WL 965344, at *2 (noting that complaints that are not identical may still
13   be consolidated where there are common questions of fact and law).
14            The Court will ultimately have to determine (a) whether a fraud occurred, and (b) the extent
15   of the involvement of the various actors, including (1) FTX’s endorsers; (2) the auditors who gave
16   FTX a clean bill of health, even when all signs pointed to ongoing fraudulent behavior; (3) the
17   individuals comprising Bankman-Fried’s inner circle and other executives at his companies; and of
18   course (4) Bankman-Fried himself. See, e.g., Lam Dkt. 1; Hawkins Dkt. 1; Pierce Dkt. 1; Papadakis
19   Dkt. 13. Given that the Court’s inquiry will necessarily involve determination of factual and legal
20   issues common to all of the Related Actions, consolidation is plainly appropriate here.
21                    B. Consolidation Will Promote Efficiency and Judicial Economy by Preventing
22                       Duplicative Discovery, Briefings, and Hearings
23            Consolidation under Rule 42(a) will preserve judicial economy, avoid waste, and prevent
24   delay. “[C]onsolidation serves the interests of judicial economy by promoting efficiency and saving
25   time for purposes of pretrial discovery and motion practice.” In re Oreck Corp. Halo Vacuum & Air
26   Purifiers Mktg. & Sales Pracs. Litig., 282 F.R.D. 486, 490 (C.D. Cal. 2012). Because Plaintiffs’
27   allegations and causes of action are largely common across the Related Actions, discovery would
28   be substantially duplicative if conducted separately in each case. As addressed supra at Section

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 1   II.A., many of the key factual and legal issues the Court will address in rulings on motions to dismiss,
 2   motions for class certification, and motions for summary judgment will be substantially common
 3   across the Related Actions. Duplicative discovery, briefing, and hearings would thus waste judicial
 4   resources by requiring the Court to preside over and resolve essentially identical questions for each
 5   individual action.2
 6                    C. Granting this Motion Will Not Unduly Prejudice Defendants, Because
 7                       Consolidation will Reduce Their Litigation Burden
 8            Defendants would benefit from consolidation, as they would be able to focus their litigation
 9   efforts in one place. Rather than having to coordinate across multiple dockets and appear in multiple
10   cases, Defendants would be able to simply focus their litigation efforts in a single consolidated
11   action. Additionally, being able to conduct discovery in one action, rather than respond to discovery
12   requests in five separate cases, would save considerable time and expense for the Defendants. Thus,
13   Defendants would not be unduly prejudiced by consolidation.
14   IV.      THE COURT SHOULD APPOINT THE PROPOSED LEADERSHIP COUNSEL
15            AS INTERIM LEADERSHIP
16            Appointing interim leadership is the best way to ensure that the Related Actions will be
17 litigated efficiently and to “foster and sustain good working relations among fellow counsel and

18 with the court.” Manual § 10.21. The Proposed Leadership team features a diverse set of attorneys

19 (including in terms of gender, ethnicity, geographic diversity, and years of overall experience) that

20 are dedicated to working collaboratively and cooperatively. This will translate to the effective

21

22

23            2
                None of the factors that weigh against consolidation present in these cases. As with
24   Ramirez v. HB USA Holdings, Inc., “factors that counsel against consolidation, such as differing
     trial dates or stages of discovery, are not present here.” No. CV 20-9748-JGB(SHKX), 2021 WL
25   840353, at *2 (C.D. Cal. Jan. 15, 2021). These cases were all filed within three months of each
     other, and none have begun discovery, nor have any trial dates been set. In fact, consolidating these
26
     cases would allow the Court to ensure that these cases do not end up on wildly different schedules,
27   thus allowing the Court to deal with issues in lockstep, rather than duplicating its analysis multiple
     times.
28

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 1   representation of the various claims alleged in the Bankman-Fried cases and will allow the Court to
 2   more efficiently adjudicate these matters.
 3                    A. Interim Leadership Would Benefit These Cases.
 4            The Proposed Leadership Structure brings together the experience and resources of several
 5   firms in a two-tiered structure that is commonly approved by courts in complex cases with multiple
 6   defendants. Under the proposal, the law firms Edelson, Kaplan Fox, and Pomerantz will serve as
 7 Interim Co-Lead and Trial Counsel. The law firm of Audet will serve as Executive Committee

 8 Chair and Liaison Counsel. The Executive Committee will consist of Hoda Law, Wites, and

 9 BG&G. As explained below, these firms’ experience and expertise complement one another to the

10 benefit of the proposed Class.

11            Appointing Interim Co-Lead Counsel will enable Plaintiffs to coordinate litigation
12 efficiently, including any efforts at resolving the matter or eventually litigating through trial.

13 Plaintiffs’ Interim Co-Lead Counsel would promote the orderly and efficient conduct of this

14 litigation and avoid unnecessary duplication and unproductive efforts. This would also allow the

15 Court to hear Plaintiffs’ requests from a coordinated plaintiffs’ leadership group, rather than having

16 to juggle multiple, potentially competing, requests from Plaintiffs throughout the litigation.

17 Additionally, the appointment of leadership will facilitate cooperation with Defense Counsel here

18 and counsel in other proceedings, as the Proposed Leadership will be authorized to enter into

19 stipulations in order to facilitate efficient motion and discovery practice.

20            Given the number of firms already involved in litigation on these issues, appointing an
21 Executive Committee will also facilitate the efficient litigation of the consolidated cases. The

22 Executive Committee, and specifically the Chair of the Executive Committee, will facilitate

23 coordination and cooperation among all Plaintiffs’ counsel, and will support litigation efforts as

24 needed at the direction of Interim Co-Lead Counsel. The Chair will also provide a point of contact

25 for the Court to communicate with the Executive Committee and Interim Co-Lead Counsel. The

26 Chair will also serve as liaison to the matters outside of these proceedings that are not susceptible

27 to consolidation and in order to monitor and advocate for Class Members interests in those

28 proceedings.

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 1                        1. Interim Co-Lead Counsel
 2                                a. Edelson PC
 3            Edelson PC is a nationally recognized law firm concentrating on high stakes plaintiffs’ work,
 4   including class, mass, and government actions with offices in Chicago, San Francisco, Boulder, and
 5   Washington, D.C. The firm is best known for its work in complex technology cases because of its
 6   in-house forensics lab staffed with computer forensic investigators and lawyers with technology
 7   backgrounds. This in-house expertise has allowed Edelson and its clients to bring cutting-edge
 8 technology cases and has been instrumental in recovering billions of dollars in settlements and

 9 verdicts for its clients, including the largest consumer recoveries in first-of-their-kind internet

10 gambling cases that have settled—collectively—for more than $651 in the last two years. Edelson

11 and its team bring deeply relevant experience, resources, and perspective here. In addition to efforts

12 focused on reforming and improving the plaintiffs’ bar, Edelson has undertaken efforts to promote

13 diversity within the bar and the firm, including by creating an executive level position within the

14 firm focused on the firm’s recruitment practices. Presently, 40% of the firm’s attorneys are women,

15 and 25% come from communities of color. The Edelson team will consist of Partners Yaman

16   Salahi and Todd Logan, and Associates Solange Hilfinger-Pardo, Amy Hausman, and Hannah
17   Hilligoss, and that team will be overseen by the firm’s managing partner Rafey Balabanian, as well
18   as its founder, Jay Edelson. The Edelson firm is committed to ensuring that all attorneys on the
19   team have meaningful litigation and hearing opportunities, particularly attorneys with fewer years
20   of experience. See Audet Decl. Ex. 2 (“Edelson Firm Resume”).
21                                b. Kaplan Fox & Kilsheimer LLP
22            Kaplan Fox is a national law firm which for nearly 50 years has focused its litigation practice
23   on class actions and other complex matters. Headquartered in New York, the firm has maintained a
24   thriving presence in the Bay Area for more than 20 years, led by the head of its consumer protection
25   practice, Laurence King. In addition to Mr. King and as set forth below, the firm has assembled a
26   diverse team of attorneys well-suited to the prosecution of this case.
27            Kaplan Fox diligently prepares every case as if it is going to trial, and as a result has obtained
28   some of the largest recoveries in the areas in which it practices, which include securities and antitrust

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 1   litigation in addition to consumer protection. The following are examples of some of the firm’s most
 2   significant recoveries:
 3            (1) In re Bank of America Corp. Sec. Deriv., & ERISA Litig., No. 1:09-md-020508-PKC
 4            (S.D.N.Y.). As co-lead counsel, Kaplan Fox recovered $2.425 billion for investors just
 5            weeks before trial. The result is one of the largest recoveries in the history of securities class
 6            actions, and the single largest in a case brought under Section 14(a) of the Securities
 7            Exchange Act of 1934.
 8            (2) In re Air Cargo Shipping Servs., Antitrust Litig., No. 06-md-1775 (JG) (VVP)
 9            (E.D.N.Y.). As co-lead counsel representing direct purchasers alleging violations of antitrust
10            laws, Kaplan Fox has recovered more than $1.25 billion in settlements.
11            (3) In re Apple Inc. Device Performance Litig., No. 18-md-02827-EJD (N.D. Cal.). As co-
12            lead counsel, Kaplan Fox recovered $310 million for purchasers of iPhones who claimed
13            their devices’ performance was unlawfully degraded (pending reapproval on remand from
14            Ninth Circuit). This recovery represents the largest every obtained under the computer
15            intrusion statutes at the heart of the litigation.
16            In addition, a Kaplan Fox partner, Hae Sung Nam, currently serves as one of Court-appointed
17 interim co-lead counsel in the consumer antitrust case pending against Google LLC in this District:

18 In re Google Play Consumer Antitrust Litigation, Case No. 3:20-cv-05761-JD, in which a class has

19 recently been certified and the parties are preparing for trial.

20            In obtaining these results for the clients and classes it has represented, Kaplan Fox has
21 consistently demonstrated its commitment to fight through lengthy, protracted litigation against

22 well-represented and well-resourced defendants. Through these results and many others, Kaplan

23 Fox has shown all of the skills and experience to achieve a successful result in this case. See Audet

24 Decl. Ex. 3 (Kaplan Fox Firm Resume).

25                                c. Pomerantz LLP
26            Pomerantz is the oldest law firm in the United States dedicated to representing investors. In
27 In re Petrobras Sec. Litig., 1:14-cv-09662-JSR (S.D.N.Y.), the firm achieved an historic $3 billion

28 class action settlement with the Brazilian energy giant, Petróleo Brasileiro S.A.—Petrobras, arising

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 1   from the alleged concealment of a decades-long kickback scheme. The Petrobras settlement is the
 2   largest class action settlement in a decade, the largest settlement ever in a class action involving a
 3   foreign issuer and the largest settlement ever not involving a restatement of financials. At the
 4   hearing for preliminary approval of the Petrobras settlement, Judge Jed Rakoff stated: “[T]he
 5   lawyers in this case [are] some of the best lawyers in the United States, if not the world.” In recent
 6   years, Pomerantz has also secured significant settlements on behalf of investors in In re Yahoo! Inc.
 7   Sec. Litig., 5:17-cv-LHK (N.D. Cal.) ($80 million), Pirnik v. Fiat Chrysler Automobiles N.V., 1:15-
 8   cv-07199-JMF (S.D.N.Y) ($110 million), and Klein v. Altria Group, Inc., 3:20-cv-00075-DJN (E.D.
 9   Va.) ($90 million).
10            Pomerantz has a strong track record of pursuing innovative claims on behalf of its clients.
11   In Roofer’s Pension Fund v. Papa, 2:16-cv-02805-MCA-LDW, an action on behalf of investors in
12   the securities of Perrigo Company Plc (“Perrigo”), Pomerantz set a historic precedent for global
13   investors in November 2019, when the court certified parallel classes of investors that purchased
14   Perrigo shares in the United States on the New York Stock Exchange and in Israel on the Tel Aviv
15   Stock Exchange. The ruling was the first to certify a foreign purchaser class since the Supreme
16   Court’s landmark ruling in Morrison v. National Australia Bank, Ltd, 561 U.S. 247 (2010).
17   Likewise, in individual lawsuits on behalf of BP plc (“BP”) investors arising from BP’s 2010 Gulf
18   of Mexico oil spill, Pomerantz successfully sustained “holder claims,” a theory barred under U.S.
19   federal securities laws, in what is believed to be the first ruling by a U.S. court sustaining the theory
20   under English common law. See Audet Decl. Ex. 4 (“Pomerantz Firm Resume”).
21                       2. Executive Committee Chair and Liaison Counsel
22                              a. Audet & Partners LLP
23            Audet, based in San Francisco and a block away from the federal courthouse, works with
24   affiliated counsel located throughout the United States to achieve consistent results for its individual
25   clients and represented classes. The attorneys at Audet have focused their practice on the prosecution
26   of complex cases with tremendous success for those it represents including recent cases such as:
27            (1) Andrews, et al. v. Plains All American Pipeline, LP, et al., No. 2:15-cv-04113-PSG-JEM
28            (C.D. Cal.). As co-lead counsel, Audet & Partners recovered $230 million for fishermen and

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 1            property owners devasted by one of the largest oil spills along the California coast in recent
 2            years. This significant result represents nearly 8-years of dedication, including multiple
 3            arguments on the appellate level, to ensure class members were compensated for the harm
 4            they suffered.
 5            (2) In re: Toll Roads Litig., No. 8:16-cv-00262-ODW-ADS (C.D. Cal.). As class counsel
 6            representing toll-tag users, Audet & Partners has achieved a settlement worth $216 million
 7            (inclusive of $175 million in penalty waivers) for alleged violations of privacy and
 8            inappropriate conduct by tolling agencies and businesses.
 9            (3) In re: Navistar Maxxforce Engines Mktg., Sales Practices and Prods. Liab. Litig., No.
10            1:14-cv-10318 (N.D. Ill.) As co-lead counsel, Audet & Partners provided $135 million relief
11            to owners and leases of trucks with defective emission systems. The litigation involved
12            protracted discovery disputes and use of cutting edge legal technology systems like TAR
13            and AI-assisted document review.
14            Additionally, in recognition of their commitment to the legal profession and outstanding
15   results for their clients, the firm and its attorneys have been appointed to leadership positions in
16   numerous other class cases and over the years and have been received accolades by peers and the
17   legal community, including having Mr. William M. Audet named as ‘Advocate of the Year’ by The
18 Bar Association of San Francisco. See Audet Decl. Ex. 1 (“Audet Firm Resume”).

19                       3. Executive Committee Members
20                               a. The Hoda Law Firm, PLLC
21            The Hoda Law Firm is a Houston, Texas-based firm focused on internet-related law and
22 litigation. Marshal Hoda, the founder of the Hoda Firm, is deeply knowledgeable about the

23 cryptocurrency and “Web3” ecosystems from which FTX emerged. He is a graduate of the

24 University of California, Berkeley, School of Law, where he was named a “Boalt Scholar” in

25 recognition of his top-three class rank, and served as a law clerk for Hon. Amul R. Thapar of the

26 United States Court of Appeals for the Sixth Circuit. Mr. Hoda is experienced in complex and

27 aggregate litigation, including serving as lead counsel to a putative class of consumers in Doe v.

28 Meta, Case No. 22-cv-07557 (N.D. Cal.), a case alleging misappropriation of consumers’ sensitive

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 1   tax information by Facebook’s tracking tools. In addition to representing the putative plaintiff class
 2   in the Pierce matter before the Court, Mr. Hoda recently represented several objectors to the
 3   appointment of Sullivan & Cromwell, LLP as the FTX Group debtors’ counsel in the FTX
 4   bankruptcy proceeding in Delaware. See Audet Decl. Ex. 5 (“Hoda Firm Resume”).
 5                               b. Wites Law Firm
 6            Marc A. Wites directs Wites Law Firm’s class action practice. He has worked on class
 7   actions since 1994, starting as a defense lawyer, and then limiting his practice to the representation
 8   of plaintiff classes in 2001. Notably, Marc has served has co-lead counsel in two cryptocurrency
 9   class actions, both of which resulted in recoveries for the class; Leidel v. Project Investors, Inc. d/b/a
10   Cryptsy, Paul Vernon, et al., U.S. Dist. Ct. - S.D. Fla. -- Case No. 9:16-cv-80060-MARRA; Leidel
11   v. Coinbase, Inc., U.S. Dist. Ct. - S.D. Fla. -- Case No. 9:16-cv-81992-MARRA. Marc’s class action
12   experience also includes federal and state court class actions throughout the country involving
13   automobile defects, commodities, securities, consumer protection statutes, real estate issues, and
14   other consumer claims. In recent years he also has litigated individual arbitration cases against some
15   of the world’s largest cryptocurrency exchanges. See Audet Decl. Ex. 6, (“Wites Firm Resume”).
16                               c. Bronstein, Gewirtz & Grossman, LLC
17            Peretz Bronstein is the founding member of BG&G and has significant experience litigating
18   complex securities and consumer class actions. Mr. Bronstein serves on the Plaintiffs’ Executive
19 Committee in the Flint, Michigan Water Crisis litigation (In re Flint Water Cases, 5:16-cv-10444

20 (E.D. Mich.)), which recently settled against the government defendants for $600 million. He was

21 also co-lead counsel in the consumer class action Lerman v. Apple Inc., 1:15-cv-07381 (E.D.N.Y.)

22   ($20 million settlement) and in the securities class action Duncan v. Joy Global Inc., 2:16-cv-01229-
23 PP (E.D. Wis.) ($20 million settlement). BG&G, under Mr. Bronstein’s leadership, is currently co-

24 lead or co-counsel in a number of other securities and consumer class actions. See Audet Decl. Ex.

25   7 (“BG&G Firm Resume”).
26

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 1                    B. The Court Should Appoint Interim Liaison and Co-Lead Counsel.
 2            Courts in this District rely on the factors set forth in 23(g)(1) when appointing interim
 3   counsel. Gallagher v. Bayer AG, No. 14-CV-04601-WHO, 2015 WL 4932292, at *7 (N.D. Cal.
 4   Aug. 18, 2015) (citation omitted). These include:
 5                       (i)       the work counsel has done in identifying or investigating potential claims in
 6                                 the action;
 7                       (ii)      counsel’s experience in handling class actions, other complex litigation, and
 8                                 the types of claims asserted in the action;
 9                       (iii)     counsel’s knowledge of the applicable law; and
10                       (iv)      the resources that counsel will commit to representing the class.
11            Each of the factors are readily satisfied by the leadership structure, attorneys, and law firms
12 proposed here.

13                              1. The work counsel has done in identifying or investigating potential
14                                 claims in the action.
15            As the complaints filed by the various Plaintiffs indicate, proposed Interim Co-Lead Counsel
16 and the Interim Liaison Counsel have worked diligently to investigate and identify potential claims

17 against Bankman-Fried and his associates, as well as the wide-ranging network of endorsers and

18 outside auditors who helped enable the fraud. This work involved extensive, fast-paced research and

19 investigation into a murky network of fraudsters, from which details are continuing to emerge. By

20 conducting rapid and thorough research at the very outset of FTX’s collapse, Plaintiffs’ counsel

21 have been able to identify a wide range of claims that are amenable to class-wide resolution. This

22 is reflected in the complaints now pending before the Court, which allege both statutory and

23 common law claims arising from the underlying fraud perpetrated by the various Defendants. For

24 the purposes of Rule 23(g), this body of work handily demonstrates the work counsel have done in

25 identifying and investigating potential claims for these actions.

26

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 1                       2. Counsel’s experience in handling class actions, other complex litigation,
 2                          and the types of claims asserted in the action.
 3            In terms of the second and third considerations, the group of attorneys proposed here from
 4   each firm brings significant experience in leading and litigating complex class actions of the sort
 5   presented here.
 6                          a. Edelson PC (proposed co-lead counsel)
 7            Yaman Salahi is a Partner at Edelson PC with broad-ranging litigation experience in
 8   consumer protection, antitrust, civil rights, and administrative law claims, including in complex
 9   class action proceedings and multidistrict litigation. Mr. Salahi devised the legal strategy and was
10   the lead brief writer in a successful class action lawsuit against the Internal Revenue Service which
11   obtained over $465 million in economic stimulus assistance for incarcerated persons under the
12   federal CARES Act. See Scholl v. Mnuchin, No. 20-cv-5309-PJH (N.D. Cal. 2020). He was a
13 member of litigation teams representing workers in antitrust class action litigation challenging no-

14 poach agreements in academia and the railway equipment industry that successfully recovered over

15 $120 million. See Edelson Firm Resume at 41. At Edelson, he heads ongoing consumer protection

16 litigation against California bail bond companies, antitrust litigation on behalf of workers against

17 two prominent rideshare companies, privacy litigation against government agencies and money

18 transfer businesses, and numerous other matters. He successfully briefed and argued an appeal in

19 the Eleventh Circuit, establishing the first appellate precedent that franchisors and their franchisees

20 are capable of conspiracy within the meaning of Section 1 of the Sherman Act, and regularly appears

21 for oral argument in this and other district courts. See Arrington v. Burger King Worldwide, Inc., 47

22 F. 4th 1247 (11th Cir. 2022). He is actively involved in the local community and has litigated pro

23 bono cases before this Court. See Omar v. Kerry, No. 15-cv-01760-JSC, 2015 WL 5964901 (N.D.

24 Cal. Oct. 13, 2015) (argued and won motion for preliminary injunction returning passport to

25 Yemeni-American man); Medina v. Expeditors Int’l of Wash. Inc., No. 19-cv-00950-JSC, Dkt. 27

26   (N.D. Cal. Aug. 1, 2019) (appointed pro bono settlement counsel for plaintiff in employment
27   discrimination case). Mr. Salahi is a graduate of Yale Law School, and he clerked for the Honorable
28   Edward M. Chen. See Edelson Firm Resume at 41.

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 1            Todd Logan is a partner at Edelson PC, where he leads a team of attorneys focused on high-
 2   stake class actions and mass torts. Todd is routinely appointed by courts nationwide to serve as class
 3   counsel in major class action litigation. In just the past two years alone, Mr. Logan has been
 4   appointed as class counsel or settlement class counsel in five first-of-their-kind cases, where Edelson
 5   established—for the first time—that online apps can constitute illegal gambling under Washington
 6   law, ultimately obtaining settlements exceeding $650 million in total. Kater v. Churchill Downs
 7   Inc., 2:15-cv-612 (W.D. Wash.); Wilson v. Playtika, No. 3:18-cv-5277 (W.D. Wash.); Wilson v.
 8   Huge, Inc., No. 3:18-cv-05276 (W.D. Wash.); Reed v. Scientific Games, No. 3:18-cv-565 (W.D.
 9   Wash.); Ferrando v. Zynga, No. 22-cv-214 (W.D. Wash.); Benson v. DoubleDown Interactive, LLC,
10   No. 18-cv-525 (W.D. Wash.). Mr. Logan is a graduate of Harvard Law School, and he clerked here
11   in the Northern District of California for the Honorable James Donato. See Edelson Firm Resume
12   at 36.
13            The team will also include Edelson associates Solange Hilfinger-Pardo, Amy Hausman,
14   and Hannah Hilligoss. Ms. Hilfinger-Pardo has extensive trial experience and a background in
15   consumer protection. As an Enforcement Attorney at the Consumer Financial Protection Bureau,
16   Ms. Hilfinger-Pardo worked on matters that secured over $425 million in monetary relief to
17   consumers and over $100 million in civil penalties, earning her the Director’s Mission Achievement
18   Award and Exceptional Accomplishment Award. Ms. Hilfinger-Pardo also previously worked as a
19   public defender, where she solo chaired 15 jury trials and ran an extensive motions practice. She is
20   a graduate of Yale Law School. See Edelson Firm Resume at 48.
21            Ms. Hausmann litigates consumer protection class actions, mass torts, and public corruption
22   cases. She has been appointed to serve as class counsel in a number of proceedings on behalf of
23   consumers harmed by online social casinos, which have returned hundreds of millions of dollars to
24   class members. She also represents the proposed classes in three MDLs alleging that Facebook,
25   Apple, and Google illegally profited from social casino games. In addition, Ms. Hausmann served
26   as counsel in an evidentiary hearing and ongoing litigation that unraveled decades of alleged fraud
27   and misappropriation of client funds by the now defunct law firm Girardi Keese. She is a graduate
28

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 1   of Yale Law School, and she clerked for the Honorable Michael P. Shea of the United States District
 2   Court for the District of Connecticut. See Edelson Firm Resume at 33.
 3            Ms. Hilligoss’s practice focuses on litigating mass torts and class actions. In addition to
 4   litigating the firm’s internet casino matters on behalf of consumer classes, she represents former
 5   NCAA football players suffering the harmful effects of concussions in mass tort actions against the
 6   NCAA and its member institutions. She is a graduate of Harvard Law School. See Edelson Firm
 7   Resume at 49.
 8            The Edelson attorneys above will also benefit from strategic guidance and supervision from
 9 the firm’s principals, Jay Edelson and Rafey Balabanian. Mr. Edelson is the firm’s founder and

10   CEO, with nearly 25 years of experience in complex litigation. He is regularly appointed class
11   counsel in matters across the country, and has been described by Law360 as a “Titan of the
12 Plaintiff’s Bar” and by Fast Company as one of the “Most Creative People in Business 2022.” Mr.

13 Balabanian is the managing partner of the firm, and has also regularly been appointed class counsel

14 in matters across the country, including as lead counsel in three MDLs pending before Judge Davila

15 (In re Facebook Simulated Casino Gambling, In re Google Simulated Casino Gambling, and In re

16 Apple Simulated Casino Gambling.) In keeping with the firm’s philosophy of creating opportunities

17 for a new generation of attorneys, they will participate mainly to support the efforts of the Edelson

18 attorneys above. See Edelson Firm Resume at 23, 25.

19                          b. Kaplan Fox & Kilsheimer LLP (proposed co-lead counsel)
20             Laurence D. King is the Managing Partner of Kaplan Fox’s California offices and the head
21   of its consumer protection practice. Mr. King has been appointed lead or co-lead counsel by courts
22   across the country in numerous consumer protection and securities class actions. Mr. King has had
23   a substantial role in some of the largest recoveries obtained by Kaplan Fox in this District and
24   elsewhere, including In re Bank of America Corp. Sec. Deriv., & ERISA Litig., No. 1:09-md-
25   020508-PKC (S.D.N.Y.)($2.425billion recovered); In re Apple Inc. Device Performance Litig., No.
26 18-md-02827-EJD (N.D. Cal.)(Mr. King appointed as co-lead counsel; $310 million recovered;

27   pending reapproval after remand from Ninth Circuit); In re 3Com Securities Litigation, No. C-97-
28   21083-EAI (N.D. Ca.)($259 million recovered), In re Informix Securities Litigation, No. C-97-129-

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 1   CRB (N.D. Ca.)($136.5 million recovered); and Providian Credit Card Cases (Ca. Sup. Ct., S.F.
 2   Cty.)($105 million recovered). Prior to joining Kaplan Fox, Mr. King was an Assistant District
 3   Attorney at the Manhattan (New York County) District Attorney’s Office, where he tried numerous
 4   felony prosecutions to jury verdict. See Kaplan Fox Firm Resume at 17.
 5            Frederic S. Fox is a Senior Partner of the firm Mr. Fox has been a lead or co-lead counsel
 6   in many major securities class action cases, including In re Bank of America Corp. Securities,
 7   ERISA, & Derivative Litigation, No. 09-MDL-2058 (S.D.N.Y.)($2.425 billion recovered) and In re
 8   Merrill Lynch & Co., Inc. Securities, Derivative, & ERISA Litigation, No. 07-cv-9633
 9   (S.D.N.Y.)($475 million recovered), and has successfully prosecuted numerous cases with major
10   accounting firms as defendants. See Kaplan Fox Firm Resume at 12
11            The Kaplan Fox litigation team for this case will also include Kathleen Herkenhoff, who
12   is a 30+ year veteran of consumer and securities class actions at major law firms, and also previously
13   worked at the U.S. Securities & Exchange Commission, Joel Strauss and Jeffrey Campisi, partners
14   in the firm with significant securities litigation experience (Mr. Strauss is also a Certified Public
15   Account), and Blair Reed, an associate with significant experience in consumer class actions both
16   at Kaplan Fox and another respected Bay Area law firm. See Kaplan Fox Firm Resume at 40, 18,
17   24, and 33.
18                          c. Pomerantz LLP (proposed co-lead counsel)
19            Joshua B. Silverman is a Partner at Pomerantz who specializes in class action securities
20   litigation and has focused on class and complex actions for more than two decades. Mr. Silverman
21 was Lead Counsel in In re Groupon, Inc. Securities Litigation, achieving a $45 million settlement,

22 one of the highest percentage recoveries in the Seventh Circuit. He was also Lead or Co-Lead

23 Counsel in In re MannKind Corp. Securities Litigation ($23 million settlement), In re AVEO

24 Pharmaceuticals, Inc. Securities Litigation ($18 million settlement, more than four times larger than

25 the SEC’s fair fund recovery in parallel litigation), New Mexico State Investment Council v.

26 Countrywide Financial Corp. (very favorable confidential settlement), and New Mexico State

27   Investment Council v. Cheslock Bakker & Associates (summary judgment award in excess of $30
28   million).

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 1            Pomerantz’s team will also include associate Christopher Tourek, who has successfully
 2   litigated securities fraud, antitrust violations, and consumer protection violations on behalf of
 3   plaintiffs in state and federal court. Mr. Tourek was previously an associate at a prominent complex-
 4   litigation firm, where he specialized in consumer protection, antitrust, and securities litigation.
 5            In short, the attorneys proposed for Interim Co-Lead Counsel positions in the Related
 6 Actions have substantial experience in prosecuting similarly high-profile and high-stakes cases and

 7 in securing significant recoveries on behalf of the respective classes. That experience—and

 8 demonstrated ability to self-organize and work cooperatively—make them well-suited to lead these

 9 cases to a successful conclusion.

10                          d. Audet & Partners, LLP (Proposed Liaison Counsel and Chair of
11                              Executive Committee)
12            William Audet has prosecuted almost exclusively complex litigation and class actions for
13 nearly four decades and has helmed cases that have collectively achieved billions of dollars in relief

14 during these years. Having clerked for multiple federal district judges and for the Ninth Circuit, and

15 after experience at prestigious class action firms throughout the Bay Area, Mr. Audet founded his

16 practice Audet & Partners, LLP with the goal of undertaking novel and first-of-its-kind cases. Some

17 of Mr. Audet’s achievements, and especially relevant herein due to the international nature of

18 Defendants, includes filing the first-ever class action in Mexico (after the nation adopted its first

19 collective action statutory scheme), filing the class action case in the United States asserting

20 violation of Chinese Constitution against Chinese based pet food manufacturer, and promulgating

21 creative solutions to difficult problems (Mr. Audet successfully sought under Maritime law the

22 arrest and seizure of the Cosco Busan, the ship responsible for colliding with the San Francisco Bay

23 Bridge). Mr. Audet is routinely appointed to leadership positions in complex classes throughout the

24 United States, and most recently as Discovery Chairperson for another highly-publicized class

25 action (In Re: Philips Recalled CPAP, Bi-Level PAP, And Mechanical Ventilator Prods. Litig., No.

26 21-mc-1230 (W.D. Pa.)), where after competing applications for leadership, saw the appointment

27 of 33 attorneys and law firms to serve as plaintiffs’ leadership given the complexity of the case. See

28 Audet Firm Resume.

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 1            The team at Audet & Partners will include Ling Kuang, the managing associate at Audet &
 2   Partners, LLP, where he has significant experience in complex cases that involve consumer
 3   protection, antitrust, privacy rights, multidistrict litigation and especially in matters against
 4   defendants in technology-laden complex litigation. Mr. Kuang was recently appointed as the
 5   youngest member of the Plaintiffs’ Steering Committee in In re: Deere & Co. Repair Servs. Antitrust
 6   Litig., MDL 3030, No. 3:22-cv-50188 (N.D. Ill.), an expansive MDL alleging nationwide
 7   monopolization of repair software technology. Mr. Kuang also successfully presented oral
 8   arguments at preliminary and final approval for a nationwide settlement affecting purchasers of
 9   fraudulently labeled consumer products in this District. Morrison v. Ross Stores, Inc., No. 4:18-cv-
10 02671-YGR (N.D. Cal.). See Audet Firm Resume.

11            The Audet team will also include Kurt D. Kessler, an associate with extensive experience
12 and background in consumer protection, with a focus on representing classes of consumers in the

13 face of unfair business practices by corporations. Mr. Kessler led the briefing in opposition to

14 numerous motions to dismiss, demurrers, motions for summary judgment, as well as in support of

15 motions for the approval of class settlements as well as class certification. Mr. Kessler has

16 additionally spearheaded discovery efforts in several cases, including recently managing a team

17 tasked with the discovery for a defendant and key third-party in In Re: Philips Recalled CPAP, Bi-

18 Level PAP, And Mechanical Ventilator Prods. Litig., No. 21-mc-1230 (W.D. Pa.). See Audet Firm

19 Resume.

20                      3. Counsel’s knowledge of the applicable law.
21            Edelson has brought cases against other cryptocurrency exchanges that fraudulently
22 deprived consumers of their fiat and cryptocurrency. See In Re: Mt. Gox Bitcoin Exchange

23 Litigation, MDL No. 2829. Edelson has also brought many fraud cases more broadly challenging

24 companies that have taken advantage of consumers, and in recent years has gained experience

25 investigating and prosecuting the alleged fraud, misappropriation of client funds, and Ponzi scheme

26 perpetrated for decades by the now-defunct law firm Girardi Keese. And beyond Edelson’s

27 substantive knowledge, the proposed leadership slate has significant experience in complex

28 consumer class actions. Kaplan Fox has successfully prosecuted class actions on behalf of aggrieved

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 1   investors and consumers nationwide for nearly 50 years. The Apple, Bank of America and Air Cargo
 2 cases noted above are just three examples of the many significant recoveries Kaplan Fox has

 3 obtained for its client over the years, which are set forth in Kaplan Fox’s firm resume. Pomerantz,

 4 for its part, has more than 85 years of institutional experience in litigating complex class actions

 5 arising from securities fraud and corporate malfeasance, as well as significant experience in class

 6 action litigation on behalf of consumers. In additional to achieving billions of dollars in relief over

 7 the years, Audet has litigated cases successfully against some the most well-known technology

 8 companies in the Bay Area with a focus on prosecuting consumer protection class actions. The Court

 9   should thus have every confidence in this team’s ability to leverage their knowledge and experience
10 to the effective and efficient resolution of these actions.

11                       4. The resources that counsel will commit to representing the class.
12            Given their experience in cases of this magnitude, all of Plaintiffs’ counsel fully understand
13   prosecuting these actions will require substantial resources. There are already several cases brought
14   against Defendant Bankman-Fried and his associates, which assert a number of federal and state law
15   claims. The total number of Class Members is unknown at this time but is expected to number in
16   the hundreds of thousands, with damages likely in the billions of dollars. Litigating these actions
17 will take a considerable amount of discovery, particularly to uncover how Bankman-Fried and his

18 associates used their ties between FTX and Alameda Research’s executives to perpetrate the fraud.

19 And as other courts have recognized in cases where—as here—the harm is astronomical, the

20 “magnitude of the [actions] justifies the pooling of resources and experience.” In re Google Inc.

21 Cookie Placement Consumer Priv. Litig., No. MDL CIV. 12-2358-SLR, 2012 WL 5833604, at *1

22 (D. Del. Nov. 16, 2012) (citation omitted).

23            Here, based on their experience in other similarly sized class and mass actions, the Proposed
24 Leadership firms understand and are ready to commit the substantial resources, including personnel,

25 time, facilities, and funding, needed to litigate these cases from start to finish.

26 V.         CONCLUSION
27            For the above reasons, Plaintiffs respectfully request that the Court enter the attached
28 [Proposed] Order consolidating the Related Actions and appointing the Proposed Leadership.

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 1                    ATTESTATION PURSUANT TO CIVIL LOCAL RULE 5-1(h)(3)
 2            I, Laurence D. King, attest that concurrence in the filing of this document has been obtained
 3 from the other signatories.

 4            I declare under penalty of perjury under the laws of the United States of America that the
 5   foregoing is true and correct. Executed this 2nd day of February, 2023, at Orinda, California..
 6

 7                                                      By: /s/ Laurence D. King
                                                                Laurence D. King
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